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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------X
 ERNEST OLIVER                                                 Index No. 1:25-cv-03516
                                    Plaintiff,
                                                               VERIFIED COMPLAINT

                  -against-


 NEW YORK CITY DEPARTMENT OF
 CORRECTIONS, LYNELLE MAGINLEY-
 LIDDIE, JOSEPH CAPUTO and JOHN and/or
 JANE DOES 1-10.


                                    Defendants.
-----------------------------------------------------------X


        Plaintiff Ernest Oliver (“Ernest”) by and through his attorneys, Bader & Yakaitis LLP, as

and for his Verified Complaint (the “Complaint”) brings this action against Defendants New

York City Department of Corrections (“NY DoC”), Lynelle Maginley-Liddie (“Liddie”), Joseph

Caputo (“Caputo”) and John and/or Jane Does 1-10 (“Doe Defendants” together with NY DoC,

Liddie, and Caputo “Defendants”) hereby alleges as follows:


                                    PRELIMINARY STATEMENT
        1.       Ernest is a young man of 22 and an inmate at the Rikers Island Prison Complex

(“Rikers”). Ernest was prescribed medication by Rikers medical personnel that is known to

cause ischemic priapism, a painful uncontrollable erection that cannot desist without medical

intervention. Ischemic priapism is a medical emergency with each hour ticking by leading to

permanent damage of the genitalia. Ischemic priapism must be treated immediately for any
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positive outcome. Instead, Ernest Oliver has suffered permanent disfigurement from

Defendants’ failure to provide Ernest with necessary medical attention.

       2.      Ernest suffered an ischemic priapism which went untreated for several days

despite regularly informing Rikers personnel of his condition.

       3.      Ernest was ignored and Rikers personnel allowed the ischemic priapism to

continue untreated for over five full days. During that time the priapism was not treated, Ernest

was in agony, unable to sleep, and barely able to stand or walk.

       4.      An ischemic priapism is a medical emergency which must be treated within

hours, not days, of the onset of symptoms to avoid permanent damage. Rikers personnel failed to

provide the necessary medical care in the face of this emergency to Ernest leading to permanent

erectile dysfunction and substantial permanent damage to the soft tissue in Ernest’s genitalia.

       5.      Worse still, after Ernest was finally treated, it became known among Corrections

Officers (“COs”) that he suffered from permanent erectile dysfunction, several COs mocked his

condition making jokes at Ernest’s expense that he would no longer be a problem because his

“dick” did not work.

       6.      Rikers is notorious for its many human rights failures, including, COs regularly

failing to respond to medical emergencies. Given the common occurrence of COs failing to

respond to medical emergencies there must either be a custom or policy in place to ignore

inmates’ medical requests or a general failure of training among COs who work at Rikers.

Without such failings, these problems could not be as endemic as they are.

       7.      While this is merely an example of a broad societal problem, Rikers has

effectively sterilized a young man of only 22 years of age, one who no matter the reason for his

incarceration did not deserve such treatment by the State.
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                                             PARTIES
         8.    Ernest is an inmate at Rikers Island. During the events described herein, Ernest

was a resident of the Robert N. Davoren Detention Center at 11-11 Hazen St, East Elmhurst, NY

11370.

         9.    The New York City Department of Corrections (“NY DoC”) is an administrative

agency which has jurisdiction over New York City’s correctional facilities, including but not

limited to Rikers. NY DoC is headquartered at 75-20 Astoria Blvd S, East Elmhurst, NY 11370

in Queens County.

         10.   Lynelle Maginley-Liddie (“Liddie”) is the Commissioner of the NY DoC. Liddie

is being sued in both her individual and official capacity.

         11.   Joseph Caputo (“Caputo”) is the Warden of the Robert N. Davoren Detention

Center, a sub facility in which Ernest was housed. Caputo is being sued in both his individual

and official capacity.

         12.   John and/or Jane Does 1-10 are the currently unknown COs and/or Rikers medical

personnel who failed to facilitate and/or provide the proper medical care to Ernest’s medical

emergency. Each are being sued in his or her individual capacity and his or her official capacity.


                                 JURISDICTION AND VENUE
         13.   Jurisdiction is proper pursuant to 28 U.S.C. § 1331 because this is a civil action

arising under the Constitution of the United States and federal statute 42 U.S.C. 1983.

         14.   Venue is proper pursuant to 28 U.S.C. § 1391 because the Eastern District of New

York is a judicial district in which a substantial part of the events or omissions giving rise to

Plaintiff’s claims occurred.
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                                               FACTS
        15.     Ernest Oliver (“Ernest”) was born in Brooklyn in December 2002.

        16.     Ernest is an inmate at Rikers which is controlled by the NY DoC with NYSID

14414928M and a Book & Case Number 1412203971. He is currently housed in the George R.

Vierno Center, though at the relevant times Mr. Oliver was housed at Robert N. Davoren Center.

        17.     Ernest was arrested on November 29, 2022, at the age of 19, and expects to leave

the care of the NY DoC by the end of 2025.

        18.     During his stay, Ernest was prescribed 75 mg of Trazodone, and 4 mg of

Risperidone.

        19.     Trazodone is an antidepressant which can be used to treat major depressive

disorder. It is also regularly used, off FDA approval, for sleep disorders, although there is not

yet sufficient clinical data on this use.

        20.     Regardless, Trazodone was provided to Ernest partly for its ability to help him

sleep while in Rikers but also for its ability to treat depression.

        21.     Trazodone has numerous side-effects, some more serious than others. A common

side-effect for Trazodone is priapism.

        22.     Such side effects are so common that in psychiatric circles Trazodone is jokingly

referred to as “Trazobone” comparing it to slang for erect male genitalia. Trazodone and

priapism are commonly associated in the medical community.

        23.     Risperidone (common brand Risperdal) is an antipsychotic that is used to treat a

variety of mood disorders.

        24.     Risperidone also has numerous side-effects, including priapism, albeit at a lower

rate than Trazodone.
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         25.   Recent studies indicate that the combination of the two may increase the risk of

priapism at a higher rate than the usage of either on its own. 1

         26.   As will be described in greater detail below, Ernest experienced stuttering and

then ischemic priapism, caused as side effects from his medication.

         27.   On most mornings, when Ernest would wake up, he would have an uncontrollable

erection for a few hours, usually lasting no more than three hours. This is a condition known as a

stuttering priapism. This condition was caused by the medication, i.e. the Trazodone,

Risperidone and/or the combination of the two, prescribed to him by NY DoC affiliated medical

staff.

         28.   Ernest reported these issues to NY DoC COs and medical representatives.

         29.   The possibility of ischemic priapism is a relatively common side effect for both

Trazadone and Risperidone. NY DoC should have known that providing such medication to an

inmate generally could result in the occurrence of a predictable side-effect, namely ischemic

priapism. The risk of ischemic priapism is also greater in individuals who experience stuttering

priapism.

         30.   Trazadone and/or Risperidone are common medications among the inmates at

Rikers. NY DoC failed to properly train their staff regarding possible medical emergencies that

could occur from the regular distribution of Trazadone and/or Risperidone.

         31.   NY DoC maintained a medical file on Ernest, who, because of his status as an

inmate, was not able to receive medical treatment without the intervention of the NY DoC and

Rikers personnel.



1
 Chelsea Eisenach, M.D. and Sean Lynch M.D., Trazodone-Induced Priapism and Increased
Recurrence Risk With Antipsychotics, American Journal of Psychiatry Volume 19, Number 1
September 8, 2023.
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                                             Priapism
       32.     Priapism is a prolonged erection that is either a full or partial erection that

continues hours beyond the norm and is not caused by sexual excitement. There are three main

types of priapism ischemic, nonischemic and stuttering.

       33.     Stuttering priapism is a condition characterized by recurrent episodes of

prolonged erections that are not associated with sexual stimulation that last for less than 4 hours

and resolve spontaneously.

       34.     An ischemic priapism, also called low-flow priapism, is the result of the blood not

being able to leave the penis. Blood becomes trapped in the penis and cannot flow out of the

veins of the penis or alternatively there is a contract of smooth muscles within the erectile tissue

of the penis trapping the blood. The trapped blood becomes de-oxygenated and after four hours

of being trapped in the penis will cause damage and potentially destroy penile tissue. Untreated

ischemic priapism will usually cause permanent erectile dysfunction.

       35.     Ischemic priapism is a medical emergency and requires immediate medical care

to prevent complications caused by the penis not getting enough oxygen.

       36.     Individuals with an ischemic priapism are likely to make a full recovery if treated

within the first several hours of symptoms presenting. At 24 hours after onset there is

approximately a 50% rate of full recovery. At 36 the odds of some degree of corporal fibrosis

and erectile dysfunction is extremely high, continuing to increase with each hour the condition

goes untreated. At five days after onset recovery is extremely unlikely, bordering on impossible.

       37.     Corporal fibrosis is a condition characterized by excessive accumulation of scar

tissue (fibrosis) in the corpora cavernosa, the two spongy cylinders within the penis that fill with

blood during an erection.
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       38.     When ischemic priapism is left untreated, penile corporal tissues see the onset of

necrosis and eventual fibrosis which will result in permanent erectile dysfunction as the corpora

cavernosa lose the ability to fill with blood. In addition, the damaged tissue can, especially in

severe cases, lead to permanent penile pain and penile shortening, literally shriveling the interior

of penis, along with continued pain in the genitalia.

                                   Onset of Ischemic Priapism
       39.     Ernest regularly suffered from stuttering priapism, a condition of which Ernest

had appraised Rikers personnel.

       40.     However, beginning on October 28, 2024 (“Day 1”) the stuttering priapism

became an ischemic priapism.

       41.     As was usual, on the morning of Day 1, Ernest woke up with an uncontrollable

erection, a symptom of the stuttering priapism caused by his medication. As this was a regular

occurrence, he expected the condition and was not initially concerned. Normally the condition

would abate after a few hours.

       42.     However, after several hours, Ernest noticed that his erection did not dissipate.

Instead, he noticed increased pain in his genitalia. This indicated that the stuttering priapism had

become an ischemic priapism.

       43.     Concerned, Ernest reported this medical issue to a CO who he believes was

Corrections Officer Hall, although he does not know her first name. Officer Hall stated she

would report this medical condition and Ernest believes she did so. Ernest reported his condition

to at least one other Corrections Officer on Day 1 but does not remember that officer’s name and

is identified as John or Jane Doe 1.

       44.     By the end of the day, Ernest received no medical attention.
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       45.     Over the course of the night of October 28, 2024 into October 29, 2024 (“Day 2”)

the priapism became extremely painful. Ernest was unable to sleep from the pain and

discomfort.

       46.     By the time night became day, Ernest was in excruciating pain. For much of Day

2, Ernest found it difficult to walk or stand and he was mostly huddled in a ball in pain often

unable to get off the floor. Ernest spoke with additional COs about his condition, though at this

juncture he does not recall the names of those COs. These COs are John and/or Jane Does 2-3.

Again, he received no medical attention.

       47.     By October 30, 2024 (“Day 3”), Ernest’s priapism had not subsided. Ernest again

attempted to speak to Corrections Officers regarding this medical emergency. His concerns were

brought to the attention of a Captain who believed Ernest was lying. The two additional COs are

John and/or Jane Does 4-5, and the Captain Jane Doe 6.

       48.     Ernest called 311 to lodge a formal complaint and to seek medical attention.

       49.     Day 3 came and went and still Ernest received no medical attention for his

priapism.

       50.     October 31, 2024 (“Day 4”) followed a similar pattern. Ernest remained in

excruciating pain that made it difficult to walk, stand or sleep. He again spoke to a different set

of Corrections Officers and for whatever reason no medical attention was forthcoming. These

additional COs are John and/or Jane Does 7-8.

       51.     November 1, 2024 (“Day 5”) saw Ernest in continued pain, sufficient to make

walking, standing or sleeping extremely difficult. Ernest again called 311 to lodge a complaint

and to seek medical attention.
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       52.     By Day 5, Corrections Officer Hall had returned to work the area in which Ernest

lived. She was shocked that Ernest had not yet received medical attention. She again reported

Ernest’s condition to her superiors. Now finally on Day 5 of constant pain, Ernest was brought to

medical facilities at Bellevue Hospital in or around 6:45 pm of Day 5.

       53.     Despite having an emergency medical condition, there was then substantial delay

before Ernest was actually treated.

       54.     Ernest was finally treated for his Priapism towards the end of Day 5, beginning of

November 2, 2024, (“Day 6”).

                                      Treatment of Priapism
       55.     The doctors treating Ernest first attempted a cavernosal aspiration and irrigation

of the penis (“Irrigation Method”). This procedure requires the medical team to insert a needle

into the corpus cavernosum, one of two columns of spongy tissue that runs through the shaft of

the penis. With the needle, the doctors then attempt to drain the excess blood out of the penis.

Saline can also be used to help irrigate the corpora cavernosa and re-establish proper blood flood.

This is important as the blood that has been trapped in the penis has become “stale”, i.e. oxygen-

deprived and will cause damage to the area around it.

       56.     Unfortunately, the Irrigation Method failed to alleviate Ernest’s priapism as only

20ccs of thick very dark blood was drained and significant resistance was met despite saline and

phenylephrine due to the clotted old blood. This is unsurprising in that the longer a priapism

goes untreated the harder it will inevitably be to treat. This result is from irreversible damage to

the smooth muscle tissue within the penis caused by the lack of oxygen to the issue.

       57.     The doctors then switched to a more invasive treatment method, the surgical

implementation of a shunt (“Shunt Method”). In the Shunt Method, a doctor will slice open the
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penis and create a shunt, or channel, to allow the blood to more properly floor. As these shunts

need to be installed on each side of the penis to allow effective drainage, so the surgery is

performed twice, once on each side.

          58.   The Shunt Method is a more invasive procedure and requires more substantial

aftercare and more likely to create permanent erectile dysfunction than the irrigation method.

However, when the Irrigation Method fails, the Shunt Method is necessary.

          59.   The surgical team suggested that Ernest would need to have a follow up within

the next two months or so, and suggested early January 2025 as an appropriate time for a follow

up.

          60.   Regardless, at the time of the competition of the priapism treatment, the doctors at

Bellevue Hospital informed Ernest he would almost certainly have permanent erectile

dysfunction.

          61.   Ernest did not receive his first follow up until on or around mid-March. The

doctor’s do not expect Ernest to recover usage of his penis.

                                         Return to Rikers
          62.   After a brief period of recovery at Bellevue Hospital, Ernest was brought back to

Rikers.

          63.   Somehow, the result of Ernest surgery was well known among the COs (despite a

complete failure to provide the initial care required).

          64.   On several instances, COs, including a captain, mocked Ernest for his erectile

dysfunction. These COs are John and/or Jane Does 9-10.
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       65.     The captain, who at this time upon information and belief is Captain Valentine,

mocked Ernest by stating that he would no longer cause problems for the COs because his “dick”

did not work. Such mockery was and is a regular occurrence after Ernest’s treatment.




                                  FIRST CAUSE OF ACTION
                                         (42 U.S.C. § 1983)
       66.     Ernest repeats, reiterates and realleges each and every allegation contained in the

Complaint herein, all with the same force and effect as though set forth fully at this point.

       67.     Ernest has had his fourth, eight and fourteenth amendment rights violated by

Defendants.

       68.     As an inmate in an NY DoC facility, Ernest is not able to obtain his own medical

services.

       69.     The staff at Rikers were inadequately and improperly trained such as to avoid

serious medical complications of its inmates despite the known and likely risk.

       70.     There exists a general policy and/or custom at Rikers that allows inmate medical

emergencies to go untreated.

       71.     Serious consequences stemming from ignored medical conditions is endemic at

Rikers and a simple internet search reveals many such cases including but not limited to that of

Eugene Castelle, Layleen Xtravaganza Cubilette-Planco, Charizma Jones, Michael Nieves,

Rolando Perez, Herminio Villaneuva, Tarz Youngblood, George Pagan, Herman Diaz, Mary

Yehudah and many others. A large class action against the NY DoC makes a similar allegation

and found that the NY DoC regularly fails to meet the medical needs of inmates. See Agnew v.

N.Y.C. Dep’t of Corr.,
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       72.        Ernest’s priapism was a serious medical need, one that without immediate

treatment would have permanent negative health consequences for Ernest.

       73.        Ernest’s risk of priapism was known or should have been known by Defendants.

       74.        Ernest’s medical file was maintained by NY DoC.

       75.        Upon information and belief, NY DoC failed to properly train its staff by

informing them of a likely and common medical emergency from regularly proscribed

medication to NY DoC inmates.

       76.        NY DoC’s failure to properly train its staff led directly to Doe Defendants

ignoring Ernest’s medical emergency and preventing him from being treated in reasonable or

timely fashion.

       77.        NY DoC has maintained a custom and/or policy that encourages COs to ignore

medical emergencies of inmates.

       78.        The failure to treat Ernest’s medical emergency has led to permanent

disfigurement including permanent erectile dysfunction as well as internal scarring that will

decrease the length of his penis as well as permanent pain.

       79.        Ernest has exhausted all potential administrative remedies.


                                   SECOND CAUSE OF ACTION
                                            (42 U.S.C. § 1983)
       80.        Ernest repeats, reiterates and realleges each and every allegation contained in the

Complaint herein, all with the same force and effect as though set forth fully at this point.

       81.        Caputo, as warden of the Robert N. Davoren Detention Center, was responsible

for training the COs within that facility as well as establishing policy and/or customs.

       82.        Caputo failed to properly train personnel leading to the above enumerated

violations of Ernest’s constitutional rights.
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       83.     Upon information and belief, Caputo promulgated policies and customs that

directly lead to COs failing to intercede with Ernest’s medical emergency for five days.

       84.     Liddie, as NY DoC Commissioner, was responsible for overseeing policy and/or

customs at the facilities over which she had control, policies and/or customs that directly led to

Ernest’s injury.

       85.     Failure to intercede in a medical emergency for multiple days could only occur

because of either a failure of training or policy and/or custom that promotes behavior ignoring

medical issues within inmates.

       86.     John and/or Jane Does 1-10 as COs at Rikers were acting under the color of law

and personally deprived Ernest of his constitutional rights by failing to attend to his medical

emergency.

       87.     This failure was exacerbated by the mocking Ernest received from John and/or

Jane Does 9-10.

       88.     The failure to treat Ernest’s medical emergency has led to permanent

disfigurement including permanent erectile dysfunction as well as internal scarring that will

decrease the length of his penis as well as permanent pain.


                                  THIRD CAUSE OF ACTION
                                         (NEGLIGENCE)
       89.     Ernest repeats, reiterates and realleges each and every allegation contained in the

Complaint herein, all with the same force and effect as though set forth fully at this point.

       90.     Defendants owed Ernest a duty to provide him adequate medical care and/or

facilitate Ernest’s ability to get adequate medical care.

       91.     Defendants failed to allow Ernest access to adequate medical care by delaying the

treatment of his priapism by five days.
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       92.     This delay directly led to permanent disfigurement including permanent erectile

dysfunction as well as internal scarring that will decrease the length of his penis as well as

permanent pain.




       WHEREFORE, Ernest demands judgment against the Defendants on the First, Second

and Third Causes of Action in an amount in excess of the monetary jurisdiction of all lower

courts which would otherwise have jurisdiction of this matter in an amount to be determined at

trial but no less than $30,000,000, together with the costs and disbursements of this action,

attorneys’ fees, punitive damages and any other and further relief to which this Court may deem

just and proper.



       Date: New York, New York
            June 17, 2025
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                                  INDIVIDUAL VERIFICATION

STATE OF NEW YORK             )
COUNTY OF QUEENS              )


       I, Ernest Oliver affirm this 17 day of June, 2025, under the penalties of perjury under the
laws of New York, which may include a fine or imprisonment, that the foregoing is true, and I
understand that this document may be filed in an action or proceeding in a court of law.
